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                        UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF CALIFORNIA

                                      MEMORANDUM



Honorable Garland E. Burrell, Jr.             RE: Adam Pablo Reyes
Senior United States District Judge               Docket Number: 2:08CR00392-02
Sacramento, California                            PERMISSION TO TRAVEL
                                                  OUTSIDE THE COUNTRY

Your Honor:


Adam Pablo Reyes is requesting permission to travel to Cancun, Mexico. Mr. Reyes is current
with all supervision obligations, and the probation officer recommends approval be granted.


Conviction and Sentencing Date: On October 18, 2031, Adam Pablo Reyes was sentenced for
the offense(s) of 21 USC 846 and 841(a)(1) – Conspiracy to Distribute and Possess With Intent
to Distribute Over 500 Grams of Methamphetamine.


Sentence Imposed: Time served; 60 months supervised release; $100 special assessment.
Special conditions include warrantless search, financial disclosure, drug/alcohol treatment, drug/
alcohol testing, pager/cellular phone restrictions, aftercare copayment, and drug offender
registration.


Dates and Mode of Travel: May 31 – June 8, 2018, by Volaris Air. Mr. Reyes will be
traveling with his fiancée, Esmeralda Rodriguez.


Purpose: Vacation




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                                                                                                 REV. 03/2017
                                                                  TRAVEL ~ OUTSIDE COUNTRY_ COURT MEMO.DOTX
          Case 2:08-cr-00392-GEB Document 572 Filed 05/10/18 Page 2 of 2
RE:      Adam Pablo Reyes
         Docket Number: 2:08CR00392-02
         PERMISSION TO TRAVEL OUTSIDE THE COUNTRY


                                     Respectfully submitted,

                                        /s/ Wendy E. Reyes

                                         Wendy E. Reyes
                                  United States Probation Officer

Dated:    May 10, 2018
          Elk Grove, California
          WER/sda


REVIEWED BY:                /s/ Brenda Barron-Harrell
                          Brenda Barron-Harrell
                          Supervising United States Probation Officer



                                  ORDER OF THE COURT

The Court orders:

      ☒ Approved ☐ Disapproved
Dated: May 10, 2018




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                                                                                                   REV. 03/2017
                                                                    TRAVEL ~ OUTSIDE COUNTRY_ COURT MEMO.DOTX
